

Matter of Edwin P. v Jenny L.B. (2021 NY Slip Op 02110)





Matter of Edwin P. v Jenny L.B.


2021 NY Slip Op 02110


Decided on April 06, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 06, 2021

Before: Gische, J.P., Kapnick, Oing, Moulton, JJ. 


Docket No. P-18506/18 Appeal No. 13508 Case No. 2019-5265 

[*1]In the Matter of Edwin P., Petitioner-Appellant,
vJenny L.B., Respondent-Respondent.


Daniel R. Katz, New York, for appellant.
Geoffrey P. Berman, Larchmont, for respondent.
Leslie S. Lowenstein, Woodmere, attorney for the child.



Appeal from order, Family Court, Bronx County (Sarah P. Cooper, J.), entered on or about May 22, 2019, which denied petitioner's oral application to change the subject child's surname, unanimously dismissed, without costs, as taken from a nonappealable order.
After the paternity petition was granted on consent, petitioner made an oral application to have the last name of the child changed to his last name. The court declined to consider the application because it lacked jurisdiction under Civil Rights Law article 6 (see Matter of Bell v Bell, 116 AD2d 97, 99 [3d Dept 1986]). No appeal lies from that order, since it did not decide a motion made on notice, which would have provided the mother and the attorney for the child with an opportunity to respond and submit evidence concerning whether granting the application would be in the child's best interest (see CPLR 5701[a][2]; Sholes v Meagher, 100 NY2d 333 [2003]; Chi Young Lee v Osorio, 184 AD3d 417, 418 [1st Dept 2020]). THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 6, 2021








